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 6                                 UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8                                                 *****
 9   UNITED STATES OF AMERICA,                        )
                                                      ) 2:03-CR-00350-LRH
10                                                    )
                                    Plaintiff,        ) ORDER REGARDING MOTION FOR
11                                                    ) SENTENCE REDUCTION PURSUANT TO
     vs.                                              ) 18 U.S.C. § 3582(C)(2)
12                                                    )
     HENRY AUTHOR CARR,                               )
13                                                    )
                                    Defendant.        )
14
15          Upon the Joint Stipulation for Discretionary Relief Under 18 U.S.C. § 3582(c)(2) (doc.
16   no. 1645), to be construed as Defendant’s Motion for Discretionary Relief under 18 U.S.C. §
17   3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing
18   range that has subsequently been lowered and made retroactive by the United States Sentencing
19   Commission pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 750, and having considered
20   such motion, and taking into account the policy statement set forth at USSG § 1B1.10 and the
21   sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
22          IT IS ORDERED that the motion is GRANTED and the Defendant’s previously imposed
23   sentence of imprisonment (as reflected in the last judgment issued) of 135 months as to Count 2
24   of the Second Superceding Indictment is reduced to 120 months as to Count 2.
25          IT IS FURTHER ORDERED that, except as otherwise provided above, all provisions of
26   the judgment dated April 18, 2005, shall remain in effect.
27          IT IS FURTHER ORDERED that, as jointly requested by the parties, if the jointly
28   recommended revised sentence of 120 months results in a term of imprisonment satisfied by
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 1   time-served, the Defendant shall be released ten (10) days from the date of the entry of this
 2   resentencing order to allow the Bureau of Prisons to complete release planning, conduct the
 3   violent sexual offender assessment mandated by law, and obtain any DNA samples as required
 4   by law.
 5
 6             IT IS SO ORDERED.
 7             DATED this 4th day of January, 2012.
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10                                                        _______________________________
                                                          LARRY R. HICKS
11                                                        UNITED STATES DISTRICT JUDGE
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